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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN THE MATTER OF THE SEARCH OF A                Case No.17-mj-70656-JSC-1
                                           RESIDENCE IN APTOS, CALIFORNIA
                                   8       95003                                           ORDER GRANTING APPLICATION
                                   9                                                       UNDER THE ALL WRITS ACT
                                                                                           COMPELLING MICHAEL SPENCER
                                  10                                                       TO AID IN THE EXECUTION OF A
                                                                                           SEARCH WARRANT
                                  11
                                                                                           Re: Dkt. No. 4
                                  12
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                                  14           On April 26, 2017, this Court authorized a search warrant of a residence believed to be

                                  15   inhabited by Real Party in Interest Ryan Michael Spencer. (Dkt. No. 1.) The warrant authorized

                                  16   the FBI to search the premises and any computers, storage media, routers, modems, and network

                                  17   equipment contained therein, as well as Mr. Spencer himself, for evidence of child pornography.

                                  18   (Dkt. No. 1 at 29-33.1) During the search, the FBI seized 12 electronic media items, some of

                                  19   which have been determined to contain child pornography; however, several of the devices are

                                  20   encrypted in whole or in part. (Dkt. No. 10 at ¶¶ 2, 5, 7.) The United States now seeks an order

                                  21   under the All Writs Act, 28 U.S.C. § 1651, compelling Mr. Spencer to decrypt three of these

                                  22   devices: (1) an iPhone 7, Model A1660, serial number F72SDRNGHG7; (2) a Transcend 1TB

                                  23   external hard drive, serial number C842472715; and (3) an Alienware laptop, Model P4sF, serial

                                  24   number 451PM32. (Dkt. No. 4.)

                                  25           Having considered the parties’ briefs and the relevant legal authority, and having had the

                                  26   benefit of oral argument on March 1, 2018, the Court GRANTS the application and orders Mr.

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                                  28    Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
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                                   1   Spencer to assist in the execution of the search warrant. In doing so, the Court finds that the
                                   2   testimonial value of decryption as to each at-issue device is a “foregone conclusion” such that Mr.
                                   3   Spencer’s Fifth Amendment privilege against self-incrimination is not reached.
                                   4                                              BACKGROUND
                                   5             A.     Search of Codefendant Petersen’s Residence
                                   6             In April 2017, this Court issued a warrant authorizing the search of Bryan Petersen’s
                                   7   residence in Tiburon, California upon a finding of probable cause that he possessed child
                                   8   pornography. The FBI executed that warrant on April 26, 2017. (Dkt. No. 12 at 24, ¶ 3.) In an
                                   9   interview, Petersen admitted to possessing and producing child pornography, and to exchanging
                                  10   child pornography with individuals on the internet. (Id. at ¶¶ 3-6.) He identified Spencer as one
                                  11   such individual. (Id. at ¶ 3.) Petersen claimed Spencer had surreptitiously photographed naked
                                  12   children in the course of employment as a babysitter. (Id. at ¶ 4.) He further admitted to ordering
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                                  13   an external hard drive on Amazon.com for delivery to Spencer, who upon receipt filled the drive
                                  14   with “between 10,000 and 100,000” photo/video files of child pornography. (Id. at ¶ 3.) Petersen
                                  15   then travelled to Aptos, California to retrieve the drive directly from Spencer. (Id.)
                                  16             Additionally, Petersen gave the FBI passwords to access his electronic devices.2 (Id. at ¶
                                  17   6.) The FBI examined Kik messages on Petersen’s iPhone, exchanged by Petersen and Spencer in
                                  18   April 2017, and concluded that each had “actively solicited” babysitting jobs in order to take
                                  19   photos of naked children and to share those photos with each other.3 (Id. at 25, ¶¶ 7-8.) These
                                  20   messages contained child pornography sent by both Petersen and Spencer. (Id.; 19 at ¶ 9.)
                                  21             B.     Search of Defendant Spencer’s Residence
                                  22             Later that same day, the Court authorized a warrant to search Spencer’s residence in Aptos,
                                  23   California. The FBI executed it, with Spencer present, on the morning of April 27, 2017. (Dkt.
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                                           Devices seized from Petersen are not at issue.
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                                           Kik is a free messaging application. Registered users can exchange texts, photos, and videos.
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                                   1   No. 12 at 25, ¶ 9.) The FBI seized twelve devices in total. (Dkt. No. 10 at ¶ 2.) Among those
                                   2   devices so seized, three are at-issue in this Order. (Dkt. No. 4 at 6-7.)
                                   3                     1. iPhone 7, Model A1660, Serial Number F72SDRNGHG7
                                   4             The iPhone was in Spencer’s hand when the FBI entered his home to execute the search
                                   5   warrant. (Id. at 26, ¶ 9.) He admitted ownership and has since produced the password to bypass
                                   6   the iPhone’s lock screen. (Id.) Reviewing the iPhone, the FBI found Kik messages containing the
                                   7   same child pornography discovered on Petersen’s phone. (Id. at 19, ¶ 9.) The iPhone also
                                   8   contains a “Spy Camera” application, allowing the user to take surreptitious photographs. (Id. at
                                   9   28, ¶ 21.) Further, the FBI discovered a password-protected application entitled “Secret Folder &
                                  10   Video Vault Pro” (“Secret Folder”). (Id. at 19, ¶¶ 10-11.) This application requires 20MB to
                                  11   install but currently occupies 20G of phone memory. (Id.) The FBI has linked several files to the
                                  12   application, including “info.e2uapp.photosafe.” (Id.)
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                                  13                     2. Alienware Laptop, Model P4sF, Serial Number 451PM32
                                  14             This laptop was seized from Spencer’s desk and he admitted ownership. (Dkt. No. 12 at
                                  15   26, ¶ 9.) As with the iPhone, he produced the password to bypass the laptop’s lock screen. (Id.)
                                  16   However, part of the laptop remains locked under VeraCrypt-brand encryption. (Id. at 18-19, ¶ 7.)
                                  17   The government has determined that VeraCrypt does not incorporate a developer backdoor. (Id. at
                                  18   20, ¶ 13.) VeraCrypt’s public posture is that it “will never implement [a developer backdoor] even
                                  19   if asked to do so by a government agency.”4 (Id.)
                                  20             At oral argument on March 1, 2018, the government disclosed that, as with the iPhone, it
                                  21   has found child pornography on the unencrypted portion of the Alienware laptop.
                                  22                     3. Transcend 1TB External Hard Drive, Serial Number C842472715
                                  23             This external hard drive was also seized from Spencer’s desk. (Id. at 26, ¶ 9.) The FBI has
                                  24   tried and failed to bypass the VeraCrypt software installed on the drive. (Id. at 16-17, ¶ 6.)
                                  25   Forensic examination revealed that the drive contains over 900GB of data. (Id.)
                                  26   //
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                                            VeraCrypt’s position statement is available at https://www.veracrypt.fr/en/FAQ.html.
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                                   1            C.      Criminal Charges and Petersen’s Plea Bargain
                                   2            In May 2017, Petersen and Spencer were charged under 18 U.S.C. § 2252(a)(2) with
                                   3   conspiracy to distribute and receive child pornography, distribution of child pornography, receipt
                                   4   of child pornography, and possession of child pornography in violation of 18 U.S.C. §§
                                   5   2252(a)(4)(B).5 Petersen entered into a plea bargain and pled guilty.6 In September 2017,
                                   6   Petersen proffered a declaration memorializing his knowledge of Spencer’s practices regarding the
                                   7   production, storage, and encryption of child pornography on the at-issue devices. (Id.)
                                   8            D.      Declaration of Bryan Petersen
                                   9            Petersen attests that he met Spencer online in 2011, and that around two years later they
                                  10   began exchanging child pornography, mainly through Kik and Gmail. (Dkt. No. 5 at ¶¶ 1-3.)
                                  11   Eventually, they began taking naked photos of children with whom they worked as babysitters.
                                  12   (Id.) Moreover, Spencer confided to Petersen that he had molested children under his care,
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                                  13   including one victim who was routinely under the influence of autism medication and unable to
                                  14   wake when touched. (Id. at ¶ 6.) Spencer sent photos depicting these attacks as they unfolded.
                                  15   (Id. at ¶ 7.) He also recommended to Petersen an aftermarket iPhone camera application allowing
                                  16   the user to photograph subjects surreptitiously. (Id. at ¶ 5.)
                                  17            In particular, Spencer described to Petersen his practice concerning the production, storage,
                                  18   and encryption of child pornography. (Id.) First, Spencer “[stood] with the phone close to his
                                  19   body such that no one could see the screen” and then used the iPhone’s volume buttons to take a
                                  20   photo. (Id. at ¶ 4.) His surreptitious-use application rendered the screen black and ameliorated the
                                  21   risk of discovery as Spencer took pictures of naked children. (Id. at ¶ 5.) Second, Spencer saved
                                  22   the photos in a password-protected iPhone application. (Id. at ¶ 8.) Third, Spencer transferred the
                                  23   child pornography from the password-protected iPhone application to an encrypted external hard
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                                  25       United States v. Petersen et al., No. 17-cr-259-CRB (N.D. Cal.).
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                                  26     See No. 17-cr-259-CRB (Dkt. No. 50, Plea Agreement as to Bryan Petersen.) Under the July
                                       2017 agreement, Petersen pled guilty to violations of: 18 U.S.C. § 2252(a)(2) and (b)(1)
                                  27   (conspiracy to distribute/receive child pornography); 18 U.S.C. § 2251(a) (production of child
                                       pornography); 18 U.S.C. § 2252(a)(2) (distribution of child pornography); 18 U.S.C. § 2252(a)(2)
                                  28
                                       (receipt of child pornography); and 18 U.S.C. § 2252(a)(4)(B) (possession of child pornography).
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                                   1   drive. (Id.) In addition, Spencer described the use of an “encrypted partition” on his laptop used
                                   2   to store child pornography, mentioning an occasion when he brought this laptop to school and
                                   3   nearly “projected child pornography in a classroom.” (Id. at ¶ 9.)
                                   4          In January 2016, Spencer told Petersen he planned to buy a new external hard drive with
                                   5   enough space to contain his “very large” collection of child pornography. (Id. at ¶ 10.) Spencer
                                   6   further intimated that his collection was stored on “numerous devices...including an encrypted part
                                   7   of his laptop, at least one external hard drive, and his phone.” (Id.)
                                   8          In February 2016, Spencer offered to fill an external hard drive with child pornography and
                                   9   to encrypt that drive for Petersen’s use, with the condition that Petersen provide the drive. (Id. at ¶
                                  10   11.) In the following month, Spencer obtained for himself a new external hard drive where he
                                  11   began to store child pornography. (Id. at ¶ 12.) He also renewed his prior offer to fill an
                                  12   encrypted external hard drive with child pornography for Petersen. (Id.)
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                                  13          Shortly thereafter, Petersen told Spencer that he was shipping him a “Transcend Military
                                  14   Drop Tested 1 TB external hard drive” directly from Amazon.com. (Id. at ¶ 13.) Spencer replied
                                  15   that he owned “exactly the same make and model of external hard drive, which was the hard drive
                                  16   to which he was transferring his collection of child pornography.” (Id.)
                                  17          Petersen then travelled to Aptos in late 2016 to retrieve the drive from Spencer. (Id. at ¶
                                  18   14.) Spencer then gave Petersen the Transcend external drive containing child pornography,
                                  19   demonstrating that it was encrypted with VeraCrypt and providing the password. (Id.) Spencer
                                  20   next demonstrated how to access encrypted child pornography using the password he had selected
                                  21   for Petersen, which incorporated the name of a child whom Petersen babysat. (Id.)
                                  22          During that Aptos meeting, Petersen saw Spencer connect his iPhone to a “black laptop”
                                  23   and remark that he was transferring “files” from his iPhone. (Id. at ¶ 15.) While Petersen
                                  24   watched, Spencer plugged his Transcend external drive into the laptop, inputting from memory his
                                  25   VeraCrypt password in order to access child pornography. (Id. at ¶ 16.) In so doing, Spencer
                                  26   navigated through the black laptop to his Transcend external hard drive and accessed child
                                  27   pornography. (Id.) Petersen also saw Spencer download child pornography from a website called
                                  28   “Boytraders” onto the Transcend external drive. (Id. at ¶ 17.)
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                                   1           Several days later, Spencer asked Petersen whether he had memorized the VeraCrypt
                                   2   password and Petersen replied that he had. (Id. at ¶ 18.) Spencer noted that his VeraCrypt
                                   3   password was easy to recall because it incorporated “the name of a boy for whom he claimed to
                                   4   have feelings,” much like the password he prepared for Petersen. (Id.) Sometime thereafter,
                                   5   Spencer told Petersen the hard drive he had received in Aptos contained “one-quarter to one-third”
                                   6   of his total child pornography collection. (Id. at ¶ 19.)
                                   7           E.     Recovery of Additional Kik Messages
                                   8           The FBI used digital tools to recover additional Kik messages dating from January 2016 to
                                   9   November 2016. (Dkt. No. 12 at 26-28.) In these messages, Spencer offers detailed descriptions
                                  10   of his practices regarding child pornography collection and storage.
                                  11           In January 2016, Spencer mentioned his “300 [gigabyte]” child pornography collection,
                                  12   remarking that he needed a new external hard drive to store it. (Dkt. No. 12 at 26, ¶ 12.) The
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                                  13   following month, Spencer sent child pornography to Petersen, characterizing those images as a
                                  14   “fraction” of his total collection. In addition, Spencer said that his child pornography was stored
                                  15   on: “An external drive. Encrypted up the ass. That you can smash with a hammer at a moment’s
                                  16   notice.” (Id. at ¶ 13.) Spencer noted that he could “very easily” set up an encrypted external drive
                                  17   for Petersen. (Id.) In another message, Spencer opined that in addition to his hard drive, his
                                  18   computer “might be incriminating too.” (Id.) He also messaged Petersen that he had recently had
                                  19   sex with a 15-year-old boy and had “so many pics I have to download on my computer lol.” (Id.
                                  20   at ¶ 14.)
                                  21           In March 2016, Spencer indicated to Petersen that he had acquired a new 1TB external
                                  22   hard drive that he was “encrypting...and making [] his bitch.” (Id. at 27, ¶ 15.) He then offered to
                                  23   create for Petersen a “computer vault” for storing child pornography. (Id.) Spencer messaged: “I
                                  24   can make you one if you send me a hard drive. You can destroy it with a hammer and all files
                                  25   really gone. Takes under a minute. Accessed externally to computers.” (Id.) In another message
                                  26   Petersen asked whether Spencer felt guilty about their actions. (Id.) Spencer responded that he
                                  27   did not feel “bad or anything” but did allow that he was “worried legally speaking.” (Id.)
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                                   1          The next day, Petersen sent a picture of the hard drive he planned to buy—a “Transcend
                                   2   Military Drop Texted 1TB external hard drive.” (Id. at ¶ 16.) Spencer replied: “I hav [sic] that
                                   3   exact one….[t]hat’s the one I got.” (Id.) He reiterated his previous offer to create for Petersen a
                                   4   “computer vault”—an encrypted external hard drive storing child pornography. (Id. at ¶ 15.)
                                   5          In October 2016, Kik messages show Petersen and Spencer arranging a time to meet in
                                   6   person for Petersen to retrieve the promised hard drive. (Id. at ¶ 18.) Spencer suggested Petersen
                                   7   arrive early so they would have enough time to “check out the collection.” (Id.) Moreover,
                                   8   Spencer indicated that he would soon upload child pornography “from [his] drive to Dropbox,”
                                   9   and that “[t]he stuff on my computer is hot as fuck.” (Id.)
                                  10          In November 2016, Spencer messaged that he had a babysitting job for the weekend. He
                                  11   also observed to Petersen that he could “control and take pictures from [his] iPhone” using his
                                  12   watch. (Id. at ¶ 19.) He was thus able to photograph children from another room if he “propped
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                                  13   up” his iPhone for vantage. (Id.) Spencer recommended this application to Petersen. (Id.)
                                  14          Additional messages recovered by the FBI depict Spencer educating Petersen on how to
                                  15   use encryption on the external hard drive. (Id. at 28, ¶ 20.) Spencer explained that to access the
                                  16   encrypted drive from a computer, Petersen needed to “install Veracrypt on the pc.” (Id.) But to
                                  17   send files from the external drive, Spencer instructed that Petersen must “download 7z on his
                                  18   computer and throw it into a zipped file with a password....[t]hen you can upload it direct to the
                                  19   web and send the zip file. If it’s encrypted then people can’t fuck with it.” (Id.) Spencer
                                  20   explained that Petersen could send files directly from the encrypted drive: “[w]hen you mount it
                                  21   with Veracrypt it decrypts the files, when you dismount it they re-encrypt.” (Id.)
                                  22          F.      Prior Warrant Extensions and Failed FBI Decryption Efforts
                                  23          The government has requested and received two good-cause warrant extensions in light of
                                  24   the challenge presented by Mr. Spencer’s encryption. Magistrate Judge Laporte granted the first
                                  25   extension on August 11, 2017 and the second on December 11, 2017. (Dkt. Nos. 2, 9, 11.) The
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                                   1   government investigation and bypass efforts are memorialized in the declarations of FBI Special
                                   2   Agents Hadley and Marceau.7 (Dkt. No. 12 at 15, 23.)
                                   3           On October 25, 2017, the government filed the underlying application under the All Writs
                                   4   Act, 28 U.S.C. § 1651, to compel Mr. Spencer to produce in a fully unlocked state the iPhone,
                                   5   Alienware laptop, and Transcend 1TB external hard drive. (Dkt. No. 4.) After several stipulated
                                   6   extensions, Mr. Spencer filed an opposition brief and the government a reply. (Dkt. No. 12 & 14.)
                                   7   The Court heard oral argument on March 1, 2018. (Dkt. No. 18.)
                                   8                                              DISCUSSION
                                   9           The question here is whether compelling Mr. Spencer under the All Writs Act to decrypt
                                  10   these devices constitutes a violation of his Fifth Amendment privilege, or whether, as the
                                  11   government maintains, any testimonial value inhering to the act of decryption is a foregone
                                  12   conclusion.8 The Court finds that the foregone conclusion doctrine applies, as set forth below.
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                                  13   The record demonstrates that Mr. Spencer’s knowledge of the encryption passwords is a foregone
                                  14   conclusion and—in addition—that the authenticity, possession, and existence of the sought-after
                                  15   files are a foregone conclusion. In either event, the testimony inhering to the act of decryption is a
                                  16   foregone conclusion that “adds little or nothing to the sum total of the Government’s information.”
                                  17   Fisher v. United States, 425 U.S. 391, 411 (1976).
                                  18   //
                                  19   //
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                                  21   7
                                        Agent Hadley worked the Petersen and Spencer investigations. She interviewed Petersen and
                                  22   assisted in the search of Spencer’s residence. Agent Marceau, a Digital Evidence Extraction
                                       Technician, assisted in the search of Spencer’s residence and the FBI’s subsequent bypass efforts.
                                  23   Agent Marceau said of Spencer’s encryption: “if the FBI could execute a brute force attack with a
                                       guess rate of 1,000,000 passwords per second, it would take more than 1,649,859 years to enter
                                  24   every conceivable combination [of 11-digit password].” (Dkt. No. 12. at 21, ¶ 18.)
                                  25   8
                                        Mr. Spencer conceded at oral argument that the All Writs Act is the appropriate vehicle to
                                  26   compel decryption. See 28 U.S.C. § 1651; United States. v. New York Telephone Co., 434 U.S.
                                       159, 174-175 (1977) (articulating test for All Writs Act application); United States v. Apple
                                  27   MacPro Computer, 851 F.3d 238, 246 (3d Cir. 2017) (no plain error where the magistrate judge
                                       applied New York Telephone and compelled defendant to decrypt); United States v. Fricosu, 841
                                  28
                                       F. Supp. 2d 1232, 1238 (D. Colo. 2012) (same, but applying preponderance standard).
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                                   1          A.      The Fifth Amendment Privilege
                                   2          The Fifth Amendment provides that “[n]o person…shall be compelled in any criminal case
                                   3   to be a witness against himself.” But “the Fifth Amendment does not independently proscribe the
                                   4   compelled production of every sort of incriminating evidence.” Fisher, 425 U.S. at 408. “[T]he
                                   5   privilege protects a person only against being incriminated by his own compelled testimonial
                                   6   communications.” Id. at 409. It encompasses incriminating answers as well as those “furnish[ing]
                                   7   a link in the chain of evidence needed to prosecute the claimant for a federal crime.” Hoffman v.
                                   8   United States, 341 U.S. 479, 486 (1951). The privilege may also encompass the very act of
                                   9   production if that act “implicitly communicate[s] statements of fact.” See Fisher, 425 U.S. at 410;
                                  10   United States v. Hubbell, 530 U.S. 27, 36 (2000). The government concedes here that compelling
                                  11   decryption of the potentially incriminating contents of the at-issue devices would—absent a
                                  12   further showing on its part—implicate the Fifth Amendment. And the government has not sought
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                                  13   a grant of immunity for Mr. Spencer.9 However, as set forth below, “no Fifth Amendment right is
                                  14   touched” because any testimony inhering to Mr. Spencer’s compelled act of decryption is a
                                  15   foregone conclusion. In re Grand Jury Subpoena, Dated Apr. 18, 2003, 383 F.3d 905, 910 (9th
                                  16   Cir. 2004) (“Doe I”) (citing Fisher, 425 U.S. at 411).
                                  17          B.      The Foregone Conclusion Doctrine Applies
                                  18          The Court turns next to the critical question: whether the testimony inhering to Mr.
                                  19   Spencer’s act of production is a foregone conclusion such that ordering him to decrypt the at-issue
                                  20   devices will not implicate the Fifth Amendment. The foregone conclusion doctrine is an
                                  21   application of the Fifth Amendment “by which the Government can show that no testimony is at
                                  22   issue.” In re Grand Jury Subpoena Duces Tecum Dated Mar. 25, 2011, 670 F.3d 1335, 1343 n.19
                                  23   (11th Cir. 2012). The Supreme Court articulated the foregone conclusion doctrine in Fisher v.
                                  24

                                  25   9
                                        Because the foregone conclusion doctrine applies, this Order does not reach the question of
                                  26   immunity. See, e.g., United States v. Hubbell, 530 U.S. 27, 45-46 (2000) (production could not be
                                       compelled absent sufficient grant of immunity where foregone conclusion doctrine inapplicable);
                                  27   United States v. Doe, 465 U.S. 605, 617 (1984) (“Doe II”) (“to satisfy…the Fifth Amendment, a
                                       grant of immunity need be only as broad as the privilege against self-incrimination”)
                                  28
                                                                                        9
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                                   1   United States, where it upheld the subpoena of potentially incriminating tax documents because
                                   2   the government did not rely on the respondent’s tacit testimony—that is, the “truth-telling” arising
                                   3   from the very act of production—to prove the existence of the documents or that the respondent
                                   4   possessed them. Fisher, 425 U.S. at 410-11. The Court thus held that “[t]he existence and
                                   5   location of the papers [were] a foregone conclusion and the taxpayer add[ed] little or nothing to
                                   6   the sum total of the Government's information.” Id. (“doubtful that implicitly admitting the
                                   7   existence and possession of the papers [rose] to the level of testimony within the protection of the
                                   8   Fifth Amendment”). Because the implicit testimony was a foregone conclusion, the matter
                                   9   reduced to a question “not of testimony but of surrender.” Id.
                                  10           The question of the foregone conclusion doctrine’s application in the context of compelled
                                  11   decryption presents a question of first impression to the Ninth Circuit. After considering the
                                  12   parties’ submissions, surveying the relevant legal authority, and having had the benefit of oral
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                                  13   argument, the Court finds that the foregone conclusion doctrine applies to each at-issue device.
                                  14                  1. The Court can Order Mr. Spencer to Decrypt Each Device as it is a Foregone
                                  15                  Conclusion That he Knows the Encryption Passwords to do so
                                  16           The Court finds that the testimony inhering to the act of decryption is that Mr. Spencer
                                  17   knows the encryption password. The act of decryption requires nothing more.10 Accordingly, the
                                  18
                                       10
                                  19     The foregone conclusion doctrine most often arises with regard to document subpoenas and
                                       accordingly, precedent reflects concerns unique to that context. See, e.g., Fisher, 425 U.S. at 411
                                  20   (articulating doctrine as to summonsed tax documents); Hubbell, 530 U.S. at 41 (broad subpoena
                                       of documents the “functional equivalent” of answering “detailed written interrogatory or a series
                                  21   of oral questions”); Doe I, 383 F.3d at 911 (subpoena “which seeks all documents within a
                                       category but fails to describe those documents with any specificity indicates that the government
                                  22   needs the act of production to build its case”). But the compelled decryption of lawfully-seized
                                       devices does not present identical concerns. As a practical matter, a respondent can know a
                                  23   password—and can thus decrypt the device or program to which the password is linked—without
                                       ownership, possession, or even general knowledge of files ultimately discovered. Thus where, as
                                  24   here, the contents of the encrypted devices are not alleged to be privileged, the government need
                                       only demonstrate sufficient prior knowledge that the defendant knows the password to the
                                  25   encrypted device or program at-issue. Fisher, 425 U.S. at 410 (inquiry into elements of
                                       incrimination and implied testimony “do not lend themselves to categorical answers; their
                                  26   resolution may instead depend on the facts and circumstances of particular cases or classes
                                       thereof”); Apple MacPro Computer, 851 F.3d at 248 (upholding decryption order under plain error
                                  27   review as “any testimonial aspects of [the act of decryption] were a foregone conclusion”)
                                       (emphasis added).
                                  28
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                                   1   Court holds that if the respondent’s knowledge of the relevant encryption passwords is a foregone
                                   2   conclusion, then the Court may compel decryption under the foregone conclusion doctrine. See
                                   3   United States v. Apple MacPro Computer, 851 F.3d 238, 248 n.7 (3d Cir. 2017) (“a very sound
                                   4   argument can be made that the foregone conclusion doctrine properly focuses on whether the
                                   5   Government already knows the testimony…implicit in the act of production. In this case, the fact
                                   6   known to the government that is implicit in the act of providing the password for the devices is “I,
                                   7   John Doe, know the password for these devices”) (emphasis added). Further, “[t]he government
                                   8   bears the burden of proof and must have had the requisite knowledge before issuing the summons
                                   9   or subpoena.” See Bright, 596 F.3d at 692. Finally, the government’s showing of independent
                                  10   knowledge must be made to the standard of “reasonable particularity.” See Doe I, 383 F.3d at
                                  11   909; United States v. Sideman & Bancroft, LLP, 704 F.3d 1197, 1202 (9th Cir. 2013). The Court
                                  12   finds that the government has shown with reasonable particularity that Mr. Spencer knows the
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                                  13   encryption passwords responsive to each at-issue device such that he can produce them in a fully-
                                  14   decrypted state. The Court first considers the at-issue iPhone and its “Secret Folder” application
                                  15   and then turns to the Alienware laptop and the Transcend 1TB external hard drive.
                                  16                  a. iPhone 7, Model A1660
                                  17          First, it is a foregone conclusion that Mr. Spencer knows the password to fully decrypt the
                                  18   at-issue iPhone 7, inclusive of the encrypted “Secret Folder” application, such that he can produce
                                  19   the phone in a fully-unlocked state. (Dkt. No. 12 at 19.) Spencer admitted ownership of the
                                  20   phone and has provided—through counsel—the passcode to bypass its lock screen. (Id. at 26, ¶
                                  21   9.) This scenario arose in Apple MacPro Computer where the defendant “provided the password
                                  22   to access [an at-issue iPhone 6 Plus] but did not grant access to an application...which contained
                                  23   additional encrypted information.” See Apple MacPro Computer, 851 F.3d at 243 (reviewing
                                  24   application of foregone conclusion doctrine under plain error standard in lieu of reasonable
                                  25   particularity as defendant failed to preserve objection). Because the defendant “had opened [the
                                  26   iPhone] for the police by entering a password,” it was not plain error to find that he could similarly
                                  27   access the secondary encrypted application within the same phone. Id. at 248 (affirming
                                  28   application of foregone conclusion doctrine). Whereas in Apple MacPro, the primary grant of
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                                   1   access was sufficient to impute sufficient knowledge of a secondary password, here the
                                   2   government has the same primary grant of access but has even greater independent knowledge as
                                   3   to the secondary application. Id. at 247-48. In particular, Petersen credibly attests that Spencer
                                   4   described his routine use of a password-protected iPhone application to store child pornography.11
                                   5   (Dkt. No. 5. at 2, ¶ 8.) Finally, even as the government bears the burden of production, the Court
                                   6   notes that Mr. Spencer does not dispute his ability to access the “Secret Folder” application. Nor
                                   7   does Mr. Spencer dispute knowledge of the encryption passwords as to any device, or his
                                   8   ownership more generally. In light of the foregoing, the government has shown with reasonable
                                   9   particularity that it is a foregone conclusion that Mr. Spencer knows the password such that he can
                                  10   fully-decrypt the at-issue iPhone 7, inclusive of the “Secret Folder” application. Doe I, 383 F.3d
                                  11   at 909; Apple MacPro Computer, 851 F.3d at 243.
                                  12                  b. Alienware Laptop, Model P4sF
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                                  13           Second, it is a foregone conclusion that Mr. Spencer knows the VeraCrypt password such
                                  14   that he can produce the Alienware laptop in a fully-unlocked state. He admitted ownership and—
                                  15   as with the iPhone—he furnished a passcode allowing the government to access part of the laptop,
                                  16   but not the portions encrypted with VeraCrypt which are implicated here. (Dkt. No. 12. at 26, ¶
                                  17   9). Moreover, Petersen attests that Spencer spoke of storing child pornography in an encrypted
                                  18   laptop partition—even mentioning an incident at school where he had very nearly “projected child
                                  19   pornography in a classroom” from that laptop. (Dkt. No. 5 at 2-3, ¶ 9.) In United States v.
                                  20   Fricosu, the government carried its burden of showing “that [respondent] was [the laptop’s] sole
                                  21   or primary user, who, in any event, [could] access the encrypted contents” where the respondent
                                  22   admitted in a recorded telephone call, and later confirmed, that sought-after files were located on
                                  23   her password-protected laptop. United States v. Fricosu, 841 F. Supp. 2d 1235-37 (D. Colo. 2012)
                                  24   (applying foregone conclusion doctrine under preponderance standard in lieu of reasonable
                                  25
                                       11
                                  26     Petersen also claimed that Spencer used a surreptitious camera application to photograph naked
                                       children. (Dkt. No. 5 at 2, ¶ 5.) The Court finds that assertion credible. Spencer’s November
                                  27   2016 Kik messages—independently recovered by the FBI—show that he discussed using a
                                       surreptitious camera application. (Dkt. No. 12 at 27, ¶ 19.) The FBI also discovered a “Spy
                                  28   Camera” application installed on Mr. Spencer’s phone that allowed the user to take surreptitious
                                       photographs. (Id. at 28, ¶ 21.)
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                                   1   particularity). Of three laptops seized prior to the respondent’s admission, only one laptop fit the
                                   2   description and the court applied the foregone conclusion doctrine, thus compelling decryption.
                                   3   Id. at 1237. Here the government has even more independent knowledge. First, Petersen saw
                                   4   Spencer enter a password from memory to access VeraCrypt on a “black laptop.” (Dkt. No. 5 at 3,
                                   5   ¶ 15.) Second, the Alienware laptop is partially encrypted with VeraCrypt and is the only
                                   6   functioning laptop seized. (Dkt. No. 12 at 16, ¶ 5; 18-19, ¶ 7.) Further, Petersen attests that
                                   7   Spencer not only instructed him in the use of VeraCrypt but later said of his password-selection
                                   8   protocol: “[Spencer] had made his encryption password easier to remember by incorporating the
                                   9   name of a boy for whom he claimed to have feelings, in a format similar to the encryption
                                  10   password he had created for me.”12 (Dkt. No. 5 at 3-4, ¶¶ 14, 16.) Accordingly, the government
                                  11   has shown with reasonable particularity that it is a foregone conclusion that Mr. Spencer knows
                                  12   the password such that he can fully-decrypt the at-issue the Alienware laptop, inclusive of
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                                  13   VeraCrypt. Doe I, 383 F.3d at 909; Fricosu, 841 F. Supp. 2d at 1237.
                                  14                  c. Transcend 1TB External Hard Drive
                                  15            Third, it is a foregone conclusion that Mr. Spencer knows the VeraCrypt password such
                                  16   that he can produce the Transcend 1TB external hard drive in a fully-unlocked state. This device
                                  17   was seized from the same desk as the Alienware laptop. (Dkt. No. 12 at 26, ¶ 9.) Later, during
                                  18   their Aptos meeting, Petersen saw Spencer enter the VeraCrypt password from memory to access
                                  19   this device. (Dkt. No. 5 at ¶¶ 15-17.) Here, messages recovered by the government show that
                                  20   Spencer said he: (1) owned a Transcend 1TB external hard drive “exact[ly]” like Petersen’s; (2)
                                  21   that he used encryption on his external hard drive; and (3) that he used VeraCrypt. (Dkt. No. 12 at
                                  22   28, ¶¶ 15-16, 20.) Only one seized device meets these criteria: the Transcend external hard drive
                                  23   seized by the FBI from Spencer’s desk, which was the only such device seized from Spencer. See
                                  24   Fricosu, 841 F. Supp. 2d at 1235-37 (as respondent admitted the files were on encrypted laptop
                                  25   and only one of three seized both matched that admission and had nominal indica of ownership, it
                                  26
                                       12
                                  27     The Court finds Petersen’s statements as to both Transcend drives credible. Petersen
                                       immediately furnished his passwords to the FBI. (Dkt. No. 12 at 24, ¶ 6.) The FBI discovered—
                                  28   on Spencer’s Alienware laptop—the VeraCrypt password to access Petersen’s identical Transcend
                                       hard drive, thereby corroborating Petersen’s earlier statements. (Dkt. No. 12 at 19, ¶ 8.)
                                                                                        13
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                                   1   was a foregone conclusion that “[respondent] was [the] sole or primary user, who, in any event,
                                   2   [could] access the encrypted [files]”). Accordingly, the government has shown with reasonable
                                   3   particularity that it is a foregone conclusion that Mr. Spencer knows the password such that he can
                                   4   fully-decrypt the Transcend external hard drive, inclusive of VeraCrypt. Id.; Doe I, 383 F.3d at
                                   5   909.
                                   6           Because the act of decryption impliedly testifies only as to the knowledge of passwords,
                                   7   and Mr. Spencer’s knowledge of the passwords as to each at-issue device is a foregone conclusion,
                                   8   the Court could grant the government’s motion on this basis. But as this issue presents a question
                                   9   of first impression in the Ninth Circuit, the Court also considers whether the foregone conclusion
                                  10   doctrine applies under the analysis applied to the traditional document-subpoena inquiry.
                                  11                  2. The Court can Order Mr. Spencer to Decrypt Each Device as it is a Foregone
                                  12                  Conclusion That the Encrypted Child Pornography: (1) Exists; (2) is Authentic;
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                                  13                  and (3) was Possessed or Owned, and Accessed by Mr. Spencer
                                  14           “When the existence and location of the documents…are a foregone conclusion and the
                                  15   witness adds little or nothing to the sum total of the Government’s information by conceding that
                                  16   he in fact has the [documents], then no Fifth Amendment right is touched because the question is
                                  17   not of testimony but of surrender.” Doe I, 383 F.3d at 910 (citing Fisher, 425 U.S. at 411). Under
                                  18   this analysis, the government must establish its independent knowledge of three elements: the
                                  19   files’ existence, the files’ authenticity, and respondent’s possession or control of the files.13
                                  20   Bright, 596 F.3d at 692; accord Sideman & Bancroft, LLP, 704 F.3d at 1202; Apple MacPro
                                  21   Computer, 851 F.3d at 248-49 (no plain error in decryption order as “any testimonial aspects of
                                  22   [decryption] were a foregone conclusion” where record “amply supported” findings that: “(1) the
                                  23   Government had custody of the devices; (2) prior to the seizure, [respondent] possessed, accessed,
                                  24   and owned all devices; and (3) there [were] images on the electronic devices that constitute[d]
                                  25   child pornography”). Again, the government “bears the burden of proof and must have had the
                                  26   requisite knowledge before issuing the summons or subpoena.” Bright, 596 F.3d at 692; accord
                                  27
                                       13
                                  28     As a basic premise, the Court notes that each seized device “exists” in the corporeal sense as
                                       each remains in government custody.
                                                                                       14
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                                   1   Doe I, 383 F.3d at 909. And its proof must be made with “reasonable particularity.” Sideman &
                                   2   Bancroft, LLP, 704 F.3d at 1202; Doe I, 383 F.3d at 909. As set forth below, the Court finds that
                                   3   the government has shown with at least reasonable particularity—as to each device—that it is a
                                   4   foregone conclusion that: (1) Mr. Spencer owned or possessed each device and thus owned or
                                   5   possessed the encrypted files, and can fully-decrypt each device; (2) that the files exist; and (3)
                                   6   that the files are authentic. The Court looks first to the elements of possession and existence,
                                   7   considering each device in turn, then turns to the question of authenticity.
                                   8                  a. iPhone 7, Model A1660
                                   9          The Court finds that Mr. Spencer’s ownership or possession of the iPhone—and the Secret
                                  10   Folder application therein—are a foregone conclusion. The iPhone was seized from his hand
                                  11   when the FBI commenced to search his residence and he promptly admitted ownership. (Dkt. No.
                                  12   12, at 26, ¶ 9.) He does not now dispute ownership and has provided through counsel the
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                                  13   passcode to bypass the iPhone’s lock screen. (Id.) Since Mr. Spencer owns and can access the
                                  14   iPhone, he owns and can access the encrypted “Secret Folder” therein. Apple MacPro Computer,
                                  15   851 F.3d at 248. Moreover, Petersen credibly communicated that Spencer described his practice
                                  16   of using a password-protected iPhone application to store child pornography. (Dkt. No. 5. at 2, ¶
                                  17   8.) Only one such application was discovered here. Fricosu, 841 F. Supp. 2d at 1237. Thus, the
                                  18   government has shown with at least reasonable particularity that Mr. Spencer owns the iPhone and
                                  19   the “Secret Folder” application.
                                  20          The Court also finds that the existence of child pornography on the iPhone’s “Secret
                                  21   Folder” application is a foregone conclusion. First, as an initial matter, the government already
                                  22   discovered child pornography in Spencer’s Kik messages on the iPhone more generally. (Dkt. No.
                                  23   12 at 19, ¶ 9.) Second, as set forth above, Petersen credibly attests that Spencer described his
                                  24   practice of storing child pornography in a password-protected application on his iPhone. (Dkt.
                                  25   No. 5 at 2, ¶ 8.) There was only one iPhone seized, and it contains one such application. (Dkt.
                                  26   No. 12 at 19); see Fricosu, 841 F. Supp. 2d at 1237 (existence of files a foregone conclusion
                                  27   where respondent admitted to third party that sought-after files existed on password-protected
                                  28   laptop and only one laptop out of the three seized was password-protected). Third, forensic
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                                   1   review showed that the Secret Folder application “exists” on the iPhone; that it requires 20MB to
                                   2   install; and that it now contains more than 20GB of encrypted data. (Dkt. No. 12 at 19 ¶ 9.) The
                                   3   foregone conclusion doctrine—regardless of whether applied to decryption or document
                                   4   production—does not require knowledge of specific file names. See In re Grand Jury Subpoena
                                   5   Duces Tecum Dated Mar. 25, 2011, 670 F.3d at 1349 n.28 (11th Cir. 2012). But such knowledge
                                   6   “[is] an easy way for the Government to carry its burden of showing that the existence of the files
                                   7   it seeks is a foregone conclusion.” Id.; In re Boucher, No. 2:06-MJ-91, 2009 WL 424718, at *2
                                   8   (D. Vt. Feb. 19, 2009) (existence a foregone conclusion where, upon initial grant of access to at-
                                   9   issue laptop, border agent saw child pornography and a file entitled “2yo getting raped during
                                  10   diaper change”). Here, the FBI has linked files to the Secret Folder iPhone application, including
                                  11   “info.e2uapp.photosafe.” (Id. at 19, ¶ 11.)
                                  12          Mr. Spencer insists the government is attempting to force access to an iPhone folder it
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                                  13   knows nothing about. There is no question that a mere showing of encryption cannot prove the
                                  14   element of existence “to any degree of particularity.” See Grand Jury Subpoena, 670 F.3d at 1347
                                  15   (“we are not persuaded by the suggestion that simply because the devices were encrypted
                                  16   necessarily means that [the defendant] was trying to hide something”). But here the government
                                  17   has independently shown more. Petersen expressly noted Spencer’s mention of a “password-
                                  18   protected iPhone application” used to store child pornography for later transfer to an encrypted
                                  19   hard drive. (Dkt. No. 5 at ¶ 2); Fricosu, 841 F. Supp. 2d at 1237. And although Petersen did not
                                  20   claim to have seen Spencer open or display any files on the iPhone when they met in Aptos, he did
                                  21   see Spencer plug in the iPhone and transfer “files” while they were viewing child pornography.
                                  22   (Dkt. No. 5 at 3, ¶ 15.) Thus, the Court finds that the government has shown with at least
                                  23   reasonable particularity that child pornography exists within the iPhone’s “Secret Folder”
                                  24   application. Doe I, 383 F.3d at 910 (application of the doctrine does not demand “actual
                                  25   knowledge of the existence and location of each and every responsive document”).
                                  26                  b. Alienware Laptop, Model P4sF
                                  27          The Court finds that Spencer’s ownership of the Alienware laptop is a foregone
                                  28   conclusion. This laptop was seized from Spencer’s desk and he admitted ownership, which he
                                                                                        16
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                                   1   does not now dispute. (Dkt. No. 12. at 26, ¶ 9.) Further, as with his iPhone, Spencer furnished a
                                   2   passcode allowing the government to access other parts of the laptop, but not those portions
                                   3   encrypted with VeraCrypt. (Id.) Thus, the Court finds that the government has shown with at
                                   4   least reasonable particularity that Mr. Spencer owns the Alienware laptop.
                                   5           The Court also finds that the existence of child pornography on the encrypted portions of
                                   6   the Alienware laptop is a foregone conclusion. Petersen attests that Spencer told him of his
                                   7   practice of using an encrypted laptop partition to store child pornography and part of the
                                   8   Alienware laptop is encrypted. (Dkt. No. 5 at 2, ¶ 9) (Dkt. No. 12 at 18, ¶ 7.) Further, Kik
                                   9   messages recovered by the FBI show Spencer claiming that files “on [his] computer [are] hot as
                                  10   fuck” and that his “computer might be incriminating too.” (Id. at 26-27, ¶ 13, 18.)
                                  11           Mr. Spencer insists the government cannot meet its burden of showing that child
                                  12   pornography exists on the Alienware laptop because two laptops were seized by the FBI—the
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                                  13   black-and-silver Alienware implicated here as well as a black Lenovo recovered in a non-
                                  14   functioning state as it had no hard drive—and Petersen did not clearly identify the “black laptop”
                                  15   he saw in Aptos as the at-issue Alienware laptop. The Court is not persuaded. First, only one
                                  16   working laptop was seized. It is partly-encrypted with VeraCrypt, which was Spencer’s preferred
                                  17   encryption software (or in any event, is the encryption software installed on two of the three at-
                                  18   issue devices). (Dkt. No. 12 at 28, ¶ 20.) Second, Petersen directly implicates “[Spencer’s]
                                  19   laptop.” (Dkt. No. 5 at 2, ¶ 9.) Specifically, Petersen watched Spencer access child pornography
                                  20   on a “black laptop.” (Id.) Third, Spencer’s own messages likewise implicate his laptop: (1)
                                  21   claiming the child pornography on it was “hot as fuck” and (2) that the laptop “might be
                                  22   incriminating.” (Dkt. No. 12 at 26-28, ¶¶ 13, 15, 18); see Fricosu, 841 F. Supp. 2d at 1237. In
                                  23   addition, the government disclosed at oral argument that it has since discovered child pornography
                                  24   on the accessible part of the laptop. Thus, the Court finds that the government has shown with at
                                  25   least reasonable particularity that child pornography exists within the VeraCrypt-encrypted drive
                                  26   partitions of the Alienware laptop.
                                  27   //
                                  28   //
                                                                                        17
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                                   1                  c. Transcend 1TB External Hard Drive
                                   2           The Court likewise finds that Mr. Spencer’s ownership of the Transcend 1TB external hard
                                   3   drive is a foregone conclusion. First, the hard drive was seized from the same desk as the
                                   4   Alienware laptop which Spencer admitted to owning. (Dkt. No. 12 at 26, ¶ 9.) Further, Spencer
                                   5   lived in that room for the preceding five years and no evidence suggests he shared the space. (Dkt.
                                   6   No. 4 at 19:20-22.) Second, Petersen attests that when he sent Spencer a Kik message containing
                                   7   a picture of a Transcend external hard drive he had recently purchased for himself, Spencer replied
                                   8   that he owned “exactly that same make and model of external hard drive.” (Dkt. No. 5 at 3, ¶ 13.)
                                   9   Later, at their Aptos meeting, Petersen saw Spencer using the Transcend hard drive. (Id. at ¶¶ 15-
                                  10   17.) Finally, the Court notes that Spencer does not now dispute ownership. Apple MacPro
                                  11   Computer, 851 F.3d at 248. Accordingly, the Court finds that the government has established with
                                  12   at least reasonable particularity that Mr. Spencer’s ownership of the Transcend hard drive is a
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                                  13   foregone conclusion.
                                  14           Lastly, the Court finds that the existence of child pornography on the Transcend hard drive
                                  15   is a foregone conclusion. First, recovered Kik messages from January 2016 show Spencer
                                  16   claiming that he had “like 300 gigabytes” of child pornography and that he needed a new external
                                  17   hard drive to store them. (Dkt. No. 12 at 26 ¶ 12.) At present, the drive contains over 900GB of
                                  18   data. (Id. at 17, ¶ 6.) In February 2016, Spencer messaged Petersen that he was storing child
                                  19   pornography on an external drive that was “encrypted up the ass” and could be “smash[ed] with a
                                  20   hammer at a moment’s notice.” (Id. at 26, ¶ 13.) The next month, Spencer messaged that he had
                                  21   recently purchased a new external hard drive that he was “[e]ncrypting...and making [his] bitch.”
                                  22   (Id. at 27, ¶ 15.) Second, Petersen attests that Spencer showed him child pornography on the
                                  23   Transcend drive when they met in Aptos in late 2016. (Dkt. No. 5 at 3-4, ¶ 16-17.) Mr. Spencer
                                  24   raises no dispute as to the sufficiency of the government’s showing at to the Transcend drive.
                                  25   Accordingly, the government has carried its burden of establishing the existence of child
                                  26   pornography on the Transcend drive to the required standard of reasonable particularity. Bright,
                                  27   596 F.3d at 692.
                                  28   //
                                                                                       18
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                                   1                  d. The Files Sought by the Government are Authentic
                                   2           The government presumptively carries its burden of authenticity as to the iPhone,
                                   3   Alienware laptop, and Transcend external hard drive. This element requires “that not only must
                                   4   the Government show that it can independently establish that the summonsed documents are what
                                   5   they purport to be, it must demonstrate that it is not compelling the [respondent] to use his
                                   6   discretion in selecting and assembling the responsive documents, and thereby tacitly providing
                                   7   identifying information that is necessary to the government’s authentication of the subpoenaed
                                   8   documents.”14 See Sideman & Bancroft, LLP, 704 F.3d at 1203; Doe I, 383 F.3d at 912 (internal
                                   9   citations omitted). But in compelled decryption cases—such as this—involving seized devices the
                                  10   authenticity element is routinely cited but only applied loosely if at all. Apple MacPro Computer,
                                  11   851 F.3d at 247 (citing but not applying authenticity requirement); Grand Jury Subpoena, 670
                                  12   F.3d at 1346 (same); Fricosu, 841 F. Supp. 2d at 1237 (rejecting defendant’s argument that “hard
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                                  13   drive was imaged before it was read...undermined [the device’s] validity or authenticity” where
                                  14   government testified to integrity of forensic procedures); In re Boucher, No. 2:06-MJ-91, 2009
                                  15   WL 424718, at *4 (D. Vt. Feb. 19, 2009) (act of decryption “not necessary to authenticate [the
                                  16   encrypted device]” where possession was admitted and defendant initially granted access to border
                                  17   agent who observed child pornography on the device at-issue).
                                  18           In considering the element of authenticity, the Court finds persuasive that Agent Marceau,
                                  19   an FBI Digital Evidence Extraction Technician, attested to his use of “authorized practices and
                                  20   procedures” as to each at-issue device. (See Dkt. No. 12 at 15-21.) Moreover, the FBI has already
                                  21   discovered child pornography on the accessible part of iPhone and, at oral argument, disclosed that
                                  22   it had discovered child pornography on the accessible part of Alienware laptop. Accordingly, this
                                  23   Court finds that the government can independently determine whether the at-issue devices, upon
                                  24   full decryption, contain additional child pornography without relying on the “truth-telling” of Mr.
                                  25
                                       14
                                  26     Implicit authentication challenges arise mainly out of document subpoenas. See, e.g., Hubbell,
                                       530 U.S. at 41 (compliance with broad subpoena similar to answering detailed interrogatory or
                                  27   oral questioning); Fisher, 425 U.S. at 412-13 n.12 (“[t]he “implicit authentication” rationale
                                       appears to be the prevailing justification for the Fifth Amendment’s application to documentary
                                  28   subpoenas”); Doe I, 383 F.3d at 911 (broad category-based document subpoena demonstrated that
                                       government relied on act of production to prove its case).
                                                                                          19
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                                   1   Spencer in order to do so. Fisher, 425 U.S. at 411. The authenticity of the files is thus a foregone
                                   2   conclusion. Bright, 596 F.3d at 692.
                                   3                  3. Mr. Spencer’s Remaining Arguments Against Decryption are Unavailing
                                   4           Mr. Spencer insists compelled decryption amounts to an abrogation of privacy rights. As
                                   5   Mr. Spencer articulates no relevant authority to support that proposition—and indeed, does not
                                   6   challenge the sufficiency of the search warrant underlying these proceedings—the Court is not
                                   7   persuaded. The Supreme Court has made clear that the search of cell phone data requires a search
                                   8   warrant. See Riley v. California, 134 S. Ct. 2473, 2485 (2014). Here, the government has sought
                                   9   and obtained such a warrant. (Dkt. No. 1 at 40-43.) Nor does Mr. Spencer insist the encrypted
                                  10   files are themselves privileged.15 Mr. Spencer’s general privacy argument is thus unavailing.
                                  11           Mr. Spencer also insists that the Court errs in according weight to the testimony of an
                                  12   unreliable codefendant. This argument, too, is unconstructed and lacks supportive authority. The
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                                  13   foregone conclusion doctrine simply requires that the government point to an independent source
                                  14   of prior knowledge. Bright, 596 F.3d at 692. This independent knowledge requirement does not
                                  15   qualify the source of that knowledge, except that it cannot derive from the respondent’s own
                                  16   implied testimony. For example, courts have applied the foregone conclusion doctrine to compel
                                  17   decryption where the government’s independent knowledge derived from the observations of a
                                  18   defendant’s own sister and even from a government agent. Apple MacPro Computer, 851 F.3d at
                                  19   248 (defendant’s sister who saw him view child pornography on at-issue device(s) provided
                                  20   important source of independent knowledge); Boucher, 2009 WL 424718 at *2 (ICE agent who
                                  21   saw child pornography on at-issue device provided critical source of independent knowledge).
                                  22   Spencer offers no authority, persuasive or otherwise, showing that a source of independent
                                  23   knowledge was rejected (or could be rejected) because it was not independent enough. In any
                                  24

                                  25   15
                                          See, e.g., Hubbell, 530 U.S. at 35-36 (it is a “settled proposition that a person may be required to
                                  26   produce specific documents even though they contain incriminating assertions of fact or belief
                                       because the creation of those documents was not compelled within the meaning of the privilege”)
                                  27   (internal quotations omitted); Doe II, 465 U.S. at 611-12 (files created absent compulsion “cannot
                                       be said to contain compelled testimonial evidence”); Fisher, 425 U.S. at 410-11 (we are confident
                                  28   that however incriminating the contents of the accountant’s workpapers might be, the act of
                                       producing...would not itself involve testimonial self-incrimination”).
                                                                                           20
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                                   1   event, Petersen’s testimony is either consistent with what he told the government upon the
                                   2   execution of the search warrant at his home, or corroborated by other evidence, such as Mr.
                                   3   Spencer’s Kik messages or the form of the devices seized from Spencer. Petersen’s testimony is
                                   4   thus reliable.
                                   5           Here, the government has made its showing using two independent sources of knowledge:
                                   6   Petersen and Spencer. Petersen’s immediate confession implicated Spencer and gave rise to the
                                   7   search warrant underlying this Order. (See Dkt. No. 1, Statement of Probable Cause at 14-18.)
                                   8   Later, Petersen pled guilty and entered a cooperation agreement with the government, proffering a
                                   9   declaration in furtherance of the prosecution. (See Dkt. No. 5, Declaration of Bryan Petersen.)
                                  10   And when Spencer provided the passcode to bypass the iPhone’s lock screen, the government
                                  11   uncovered inculpatory messages authored by Spencer, listed in relevant part in Section E above.
                                  12   (See Dkt. No. 12 at 26-28.) The government satisfies the independent knowledge requirement
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                                  13   under any reading of the foregone conclusion doctrine.
                                  14                                                    ***
                                  15           In sum, the Court finds that the government has satisfied to the standard of reasonable
                                  16   particularity that Mr. Spencer knows the encryption passwords to each at-issue device and that this
                                  17   is sufficient to grant the government’s application here. In addition, to the extent necessary, the
                                  18   Court finds the government has satisfied to the standard of reasonable particularity that it has prior
                                  19   independent knowledge as to: (1) Mr. Spencer’s ownership or control of each device; and (2) the
                                  20   existence of child pornography within the encrypted devices and/or applications at-issue; and (3)
                                  21   that the files sought are authentic. In either event, the testimony inhering to the act of decryption
                                  22   is a foregone conclusion “add[ing] little or nothing to the sum total of the Government’s
                                  23   information.” Fisher, 425 U.S. at 411.
                                  24                                             CONCLUSION
                                  25           For the reasons stated above, the government’s application is GRANTED as to: (1) the
                                  26   iPhone 7, Model A1660, serial number F72SDRNGHG7; (2) the Transcend 1TB external hard
                                  27   drive, serial number C842472715; and (3) the Alienware laptop, Model P4sF, serial number
                                  28   451PM32. Pursuant to the All Writs Act, the Court orders Mr. Spencer to provide the government
                                                                                         21
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                                   1   with the encryption passwords for the above devices or to decrypt the devices himself such that the
                                   2   government has access to the devices’ files.
                                   3          Any party may file objections to this Order with Judge Breyer within 14 days after being
                                   4   served with a copy. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Civ. L.R. 72-3. Failure to
                                   5   file an objection may waive the right to review of the issue in the district court.
                                   6          This Order disposes of Docket No. 4.
                                   7          IT IS SO ORDERED.
                                   8   Dated: March 20, 2018
                                   9
                                                                                                      JACQUELINE SCOTT CORLEY
                                  10
                                                                                                      United States Magistrate Judge
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Northern District of California
 United States District Court




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